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 5
       Arizona Conference of Police and Sheriffs, Inc.
 6

 7
                             UNITED STATES DISTRICT COURT
 8
                                    DISTRICT OF ARIZONA
 9

10

11     Aaron Cross, individually and the Arizona          NO.
       Conference of Police and Sheriffs, an Arizona
12
       nonprofit corporation,                            VERIFIED COMPLAINT AND
13                                                       PETITION FOR A PRELIMINARY
                                             Plaintiffs, INJUNCTION
14                   v.

15     Chris Nanos, in his official capacity as Sheriff
       of the Pima County Sheriff’s Department; Juan
16     Carlos Navarro, in his official capacity as a
17     Captain of the Pima County Sheriff’s
       Department.
18

19                                         Defendants.
20          Plaintiff’s Aaron Cross and the Arizona Conference of Police and Sheriffs
21   (“AZCOPS”) (collectively where appropriate the “Plaintiffs”) for their Complaint against
22   Chris Nanos and Juan Carlos Navarro (collectively where appropriate the “Defendants”)
23   allege as follows:
24                            JURISDICTIONAL ALLEGATIONS
25          1. Jurisdiction is appropriate pursuant to 28 U.S.C. §1331 because Plaintiffs bring
26   this action pursuant to 42 U.S.C. §1983 and the First and Fourteenth Amendments of the
27   United States Constitution. This Court also has supplemental and/or pendent jurisdiction
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     1   over state constitutional, common law and statutory claims pursuant to 28 U.S.C. §1367.
     2          2. This Court has jurisdiction of Plaintiffs’ federal law claims pursuant to 28
     3   U.S.C. §1331 and 42 U.S.C. §1988. Plaintiffs seek injunctive relief.
     4          3. Venue is proper in this Court pursuant to A.R.S. §12-401 and 28 U.S.C. §1391
     5   as the parties are residents and entities of Pima County and the events underlying this
     6   lawsuit occurred in Pima County, an area wholly within the District of Arizona. All parties
     7   are residents of and/or are doing business in Arizona.
     8                                  GENERAL ALLEGATIONS
     9          4. Plaintiffs reallege and incorporate, by this reference, their claims, facts and
    10   allegations in the paragraphs above as if set forth fully therein.
    11          5. Defendant Chris Nanos is the duly-elected Sheriff of Pima County, with the
    12   ultimate authority and responsibility to establish policy, practices, customs, procedures,
    13   protocols and training for the Pima County Sheriff’s Department (“PCSD”) as an official
    14   policymaker. As the elected Sheriff, Nanos has official, vicarious, direct and supervisory
    15   liability of the PCSD’s officers, agents and employees.
    16          6. Defendant Juan Carlos Navarro is a Captain with PCSD, and in that role he
    17   transmits reports and recommendations to Sheriff Nanos and other officials in Pima
    18   County, who rely upon his actions and recommendations in deciding on disciplinary
    19   actions and policy interpretations.
    20          7. Plaintiff AZCOPS is a statewide organization dedicated to fair representation of
    21   law enforcement officers located around the State of Arizona. Plaintiff Cross is an
    22   AZCOPS member, and AZCOPS therefore provides Plaintiff Cross with legal
    23   representation and incurs costs and fees associated with this representation.
    24                       ALLEGATIONS COMMON TO ALL COUNTS
    25          Aaron Cross’s Employment with the Pima County Sheriff’s Department
    26          8. Plaintiff Aaron Cross is a Pima County Sergeant and state-certified peace
    27   officer.
    28          9.   In April 2024, Defendant Nanos initiated an internal investigation and his
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     1   his employees “admonished” Plaintiff Cross due to comments he made during an off-duty
     2   interview — only to have the “investigation” closed after he filed a federal lawsuit. The
     3   parties agreed to dismiss the case with prejudice, but only after the case was mooted by
     4   the Sheriff by ceasing the chilling conduct.
     5          10. This case represents a further chilling effect on Plaintiffs’ First Amendment
     6   rights after the prior lawsuit was dismissed.
     7          11. On October 12, 2024, Plaintiff Cross - while off duty - participated in a
     8   political event by holding a sign on a public sidewalk which stated "Deputies don't want
     9   Nanos.”
    10          12. During the October 12th political event, Plaintiff Cross was wearing personally
    11   owned clothing which, while similar in style and color to those of on-duty deputies, did
    12   not bear any insignia or badging associated with the PCSD. He was not wearing any
    13   department issued equipment. He had his personally-owned gun, handcuffs, and handcuff
    14   holder on his belt.
    15          13. No policies of PCSD or Pima County govern what deputies can wear off duty.
    16          14. During the political event, Plaintiff Cross was with another similarly dressed
    17   individual who was not an active member of the PCSD. No one present wore any County
    18   or PCSD insignia, and to the best of Plaintiff Cross’ knowledge, no one wore any county
    19   or PCSD issued equipment.
    20          15. Shortly after the event, Plaintiff Cross received a call from Captain Navarro, a
    21   supervisor within PCSD, who claimed there had been "complaints" that on-duty PCSD
    22   employees were engaged in a protest against Sheriff Nanos while in uniform.
    23          16. Plaintiff Cross confirmed to Captain Navarro that he was not on duty at the
    24   time of the event, and that he was not in uniform - everything he was wearing was
    25   personally owned and purchased.
    26          17. Captain Navarro gave Plaintiff Cross an order that if he participated in future
    27   political events, he could not wear anything which deputies wore while "on duty.”
    28          18. Plaintiff Cross asked for the policy which was associated with this order, but it
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     1   was not provided. Plaintiff Cross asked for this order to be provided in writing, and this
     2   request was also denied.
     3             19. On October 14, 2024, Plaintiff Cross again participated in a political event
     4   while off duty, holding the same sign as on October 12th.
     5             20. In compliance with Captain Navarro’s verbal order, Plaintiff Cross was dressed
     6   in a gray "Under Armor" shirt and khaki "BDU" style pants - an outfit that to the best of
     7   Plaintiff Cross’ knowledge - no one is issued or wears while on-duty for PCSD.
     8             21. During the October 14th political event, Plaintiff Cross received a phone call
     9   and was ordered to appear in his supervisor's office in 30 minutes.
    10             22. When Plaintiff Cross arrived at the supervisor’s office, he was placed on paid
    11   administrative leave for an unspecified reason while pending an unspecified investigation.
    12   Plaintiff Cross was admonished from communicating to others that he was on
    13   administrative leave.
    14             23. Plaintiff Cross is the head of the Pima County Deputies Organization - a labor
    15   organization that has the largest number of sworn deputies in Pima County.
    16             24. Plaintiff Cross’ admonishment - which does not even allow him to speak about
    17   the fact that he is on administrative leave - has a direct impact on his ability to
    18   communicate matters of public concern to members of his labor organization and to the
    19   public.
    20             25. On the morning of October 15, 2024, Counsel for Plaintiff Cross sent a letter to
    21   Sean Holguin, the legal advisor for PCSD, informing him of the events and requesting -
    22   based on the fact that Plaintiff Cross was engaging in protected Free Speech activities and
    23   was not in PCSD uniform - that PCSD remove Plaintiff Cross from administrative leave
    24   and release him from the admonishment by 1500 hours [See Attachment A].
    25             26. PCSD did not respond to Counsel’s letter, remove Plaintiff Cross from
    26   administrative leave or release him from admonishment.
    27             27. In the afternoon hours of October 15th, PCSD provided a media release related
    28   to the PCSD IA investigation into Plaintiff Cross [See Exhibit B].
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     1          28. In their PCSD media release, Defendants falsely claims that “[a]lthough
     2   Sergeant Cross was off duty, he was dressed in department issued attire.”
     3          29. Defendants knew the claim that Plaintiff Cross was dressed in department
     4   issued attire was false when PCSO issued the media release because, based on Plaintiff
     5   Cross' communication with the supervisor after the first political event, they were aware
     6   that everything Plaintiff Cross was wearing was personally owned and purchased.
     7          30. Prior to the false press release, the Arizona Star’s website (tucson.com) had
     8   released a picture of the attire of members of the protest - and noted in their caption that
     9   no PCSD insignia were present on the protestors [See Exhibit C].
    10          31. The PCSD media release falsely claims that Plaintiff Cross’ attire at the
    11   October 13th event was a “direct violation of his Commander's orders, by appearing
    12   equipped like a law enforcement officer who is associated with official duties," while
    13   ignoring the fact that Plaintiff Cross' attire was different in color and style than any of the
    14   approved clothing for on-duty deputies.
    15          32. The PCSD media release mischaracterizes Plaintiff Cross’ actions, falsely
    16   suggesting that they raised concerns related to specific regulations within the Sheriff's
    17   Office, Pima County and State and Federal Law which prohibit campaigning while
    18   representing oneself as a department member under the color of authority.
    19          33. The Defendants’ actions - placing Plaintiff Cross on administrative leave and
    20   issuing an untruthful media release - create a chilling effect on Plaintiff Cross’ and
    21   AZCOPS members’ First Amendment rights. Plaintiff Cross was also admonished from
    22   communicating to unauthorized persons that he was on administrative leave, further
    23   impacting Plaintiff Cross’s First Amendment rights.
    24          34. Without this Court’s intervention, Defendants will continue to keep Plaintiff
    25   Cross on administrative leave and uphold its admonishment in retaliation for his speaking
    26   off-duty on a matter of public concern, further damaging and chilling Plaintiff Cross’ First
    27   Amendment rights.
    28          35. Because the majority of PCSD sworn Deputies are members of Plaintiff
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     1   AZCOPS, Plaintiff Cross’ administrative leave would have a further chilling effect on the
     2   ability of AZCOPS members to exercise their First Amendment rights to comment on
     3   matters of public concern.
     4                                      Damages to Plaintiffs
     5          36. Plaintiff Cross suffered and continues to suffer chilling effects on his right to
     6   speak regarding matters of public concern.
     7          37. Plaintiff AZCOPS will have thousands of dollars in legal costs and fees to
     8   represent Plaintiff Cross in fighting Defendants’ actions, which do not respect the Federal
     9   and Arizona Constitutional rights of its members.
    10          38. Plaintiffs’ fear that, without this Court’s intervention, Defendants will continue
    11   to inflict harm upon them by prohibiting Plaintiff Cross from speaking on matters of
    12   public concern, and by wrongfully disciplining Plaintiff Cross without respecting his
    13   constitutional rights to speak on matters of public concern.
    14                                             COUNT I
    15                 42 U.S.C. §1983 - Violation of Federal Constitutional Rights
    16          39. Plaintiffs reallege each and every allegation set forth in the paragraphs above
    17   and incorporate each allegation by this reference.
    18          40. Plaintiff Cross has the constitutional right to be free from a deprivation of a
    19   protected interest (his right to speak on matters of public concern) without due process of
    20   law.
    21          41. Unless otherwise specified, Defendants were at all material times acting under
    22   the color of law and in their capacity as officials and agents of their respective government
    23   agencies.
    24          42. Defendant Nanos intentionally or recklessly allowed an employment action
    25   against Plaintiff Cross that deprived Plaintiff Cross of the ability to contribute to
    26   conversations related to matters of public concern, and failed to consider or understand the
    27   First Amendment right to freedom of speech on matters of public concern.
    28          43. Defendant Navarro intentionally or recklessly engaged in an employment
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     1   action against Plaintiff Cross that deprived Plaintiff Cross of the ability to contribute to
     2   conversations related to matters of public concern, and failed to consider or understand the
     3   First Amendment right to freedom of speech on matters of public concern.
     4          44. Plaintiff Cross and AZCOPS will face further damages and chilling effects if
     5   Defendants are allowed to keep Plaintiff Cross on administrative leave and under
     6   admonishment while proceeding with their investigation.
     7          45. The lack of a meaningful consideration of the Federal constitutional concerns
     8   will cause actual damages to Plaintiffs in the form of time and money that will be
     9   expended to defend against Defendants unlawful actions.
    10          46. Defendants wrongful conduct as referenced in this Complaint constitute
    11   violations of the United States Constitution, including, but not limited to, Amendments I
    12   and XIV, in that Plaintiffs were deprived of privileges and immunities guaranteed to all
    13   citizens of the Untied States by being categorically deprived of their ability to participate
    14   in speech related to matters of public concern, without proper cause, with an
    15   unconstitutional motive and malice, without equal protection and without substantive and
    16   procedural due process.
    17          47. Defendants’ wrongful conduct both actually and proximately caused damage to
    18   Plaintiff in the form of attorneys fees in an amount to be determined by the Court.
    19                                            COUNT II
    20          Arizona Constitution Art. 2, §6 - Violation of State Constitutional Rights
    21          48. Plaintiffs reallege each and every allegation set forth in the paragraphs above
    22   and incorporate each allegation by this reference.
    23          49. Unless otherwise specified, Defendants were at all material times acting under
    24   the color of law and in their capacity as officials and agents of their respective government
    25   agencies.
    26          50. Defendants initiated and took part in Plaintiff Cross’ orders, administrative
    27   leave, and admonishment.
    28          51. The actions against Plaintiff Cross failed to consider his right to participate in
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     1   speech related to matters of public concern, and the protections contemplated in the
     2   Arizona Constitution - particularly Art. 2 §6 - which states - “Every person may freely
     3   speak, write, and publish on all subjects, being responsible for the abuse of that right.”
     4          52. Defendants’ wrongful conduct both actually and proximately caused damages
     5   to Plaintiffs in the form of attorneys fees in an amount to be determined by the Court.
     6                                            COUNT III
     7                                Negligence and Gross Negligence
     8          53. Plaintiffs reallege each and every allegation set forth in the paragraphs above
     9   and incorporate each allegation by this reference.
    10          54. Unless otherwise specified, Defendants were at all material times acting under
    11   the color of law and in their capacity as officials and agents of their respective government
    12   agencies.
    13          55. Defendants owed a duty to Plaintiff Cross to use care to avoid or prevent harm
    14   caused by improperly disciplining an employee.
    15          56. Defendants owed a duty to Plaintiff Cross to ensure that his rights to
    16   participate in speech in his capacity as a private citizen on matters of public concern were
    17   protected before issuing an unlawful directive and improperly placing him on
    18   administrative leave.
    19          57. Defendants owed a duty to Plaintiff Cross to not knowingly or recklessly make
    20   false or misleading statements about Plaintiff Cross in the media.
    21          58. Defendants breached their duties by incompetently and illegally issuing a
    22   directive to Plaintiff Cross regarding how he must engage in his constitutionally protected
    23   speech.
    24          59. Defendants breached their duties by incompetently and illegally placing
    25   Plaintiff Cross on administrative leave for engaging in constitutionally protected speech.
    26          60. Defendants breached their duties by continuing to keep Plaintiff Cross on
    27   administrative leave after they were advised, in writing, through their legal
    28   representatives, that this action had a chilling effect on Plaintiff Cross’ rights to speak on
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     1   matters of public concern.
     2          61. Defendants breached their duties by issuing a PCSD media release that
     3   intentionally or recklessly included claims that Defendants knew or should have known
     4   were false and/or misleading.
     5          62. Defendants’ breach both actually and proximately caused damage to Plaintiffs
     6   in the form of attorneys fees in an amount to be determined by the Court.
     7                     PETITION FOR A PRELIMINARY INJUNCTION
     8          63. Plaintiffs reallege each and every allegation set forth in the paragraphs above
     9   and incorporate each allegation by this reference.
    10          64. Upon information and belief, Defendants intend to keep Plaintiff on
    11   administrative leave and under admonishment while they proceed with an unspecified
    12   internal investigation into Plaintiff Cross.
    13          65. Without preliminary relief, Plaintiffs would incur substantial hardship,
    14   including additional costs, the exposure of legal strategies, and a deficient appeal process
    15   that would materially harm their protected interests.
    16          52.    For these reasons, as well as those set forth in the accompanying Motion,
    17   Plaintiffs respectfully request that the Court enjoin Defendants from taking any further
    18   adverse actions against Plaintiff Cross or any member of Plaintiff AZCOPS until the Court
    19   can address the procedural an substantive concerns raised in this Complaint.
    20          53.    Although legal service of this Complaint and Petition is pending,
    21   Defendants were provided through their legal representation with actual electronic copies
    22   of the Complaint and Motion for a Preliminary Injunction via email immediately after this
    23   document was filed with the Court.
    24                                     PRAYER FOR RELIEF
    25          Plaintiffs pray for judgment against the Defendants as follows:
    26          (a)    For attorneys fees arising from Procedural Due Process violations in an
    27                 amount to be determined by the Court;
    28          (b)    For attorneys fees arising from Substantive Due Process violations in an
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